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UNITED STATES DISTRICT COURT Clear Form
WESTERN DISTRICT OF NEW YORK Print

IN THE MATTER OF THE APPLICATION OF

Jordan S. Joachim
(Name)

TO BE ADMITTED TO PRACTICE AS AN ATTORNEY

TO THE HONORABLE Christina Reiss JUDGE OF THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF NEW YORK:

Jordan S. Joachim
___, petitioner herein, respectfully states:

1. That petitioner has an office for the practice of law at:
Covington & Burling LLP, 620 Eighth Avenue, New York, NY 10018-1405

2. That petitioner attended the following educational institutions and received the following degrees:

B.A., Franklin & Marshall College
J.D., New York University of Law

3. Please complete either (a), (b) or ( ¢):
Admission by Petition

(a) That petitioner was admitted to practice by the Appellate Division of the Supreme Court, Department of the State of
New York on the day of

Additional Requirements: Admission Sponsoring Affidavit
Attomey’s Oath
Civility Principles Oath
Attomey Database Form
Attorney CM/ECF Registration Form
*include the Pro Bono Volunteer Panel Form if you wish to become a member of the
Court's Volunteer Pro Bono Panel.

Admission by Certificate of Goad Standing

{b) That oetitioner was admitted to oractice in the United States District Court of the District of New York
an the day of , and is a member of the bar of the State in which that district court is located

and in which the petitioner maintains an offi ce for the practice of law.

Additional Requirements: Certificate of Good Standing from the Clerk of Court of which he or she is a
member (dated no earlier than six months prior to submission to this Court)
Check or money order in the amount of the Attorney Admission fee set forth in the District Court
Schedule of Fees
Attomey's Oath
Civility Principles Oath
Attomey Database Form
Attomey CM/ECF Registration Form
*Include the Pro Bono Volunteer Panei Farm if you wish to become a member of the Court's
Volunteer Pro Bono Panel.

Pro Hac Vice Admission

(c) That petitioner is admitted to practice inthe State of New York | a

Additional Requirements: Motion to Appear Pro Hac Vice
Check, Money Order or payment of fee on Jine in the amount of the Pro Hac Fee set forth in the
District Court Schedule of Fees
Admission Petition Form
Admission Sponsor Affidavit
Attorney's Oath
Civility Principles Oath
Attorney Database Form
Attorney CM/ECF Registation Form
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4, Petitioner is admitted to the following courts:

New York State courts, S.D.N.Y., E.D.N.Y., Second Circuit, Federal Circuit.
5. Since such admission(s), petitioner has practiced in the following courts.

The courts in (4), and D.D.C., $.D. Cal., W.D. Ok., Delaware Chancery, FL Dade Cty.

and has been involved in the following professional activities:

N/A

6. That petitioner or the petitioner's client (in a case in which the applicant represented the client) has never been held In contempt
of court, sanctioned, censured in a disciplinary proceeding, suspended or disbarred by any court or admonished by any disciplinary
committee of the organized bar, nor is the subject of any pending complaint before any court. (If number 6 is not true, the

applicant shall strike that paragraph and shall file a separate confidential statement under seal specifying the court or disciplinary
committee imposing the sanction, the date, the facts giving rise to the disciplinary action or complaint, the sanction imposed, and
such other information, including any facts of a mitigating or exculpatory nature as may be pertinent, and such confidential
statement, together with the petition, shall promptly be transmitted by the Clerk to the Chief Judge of the District for review.)

7. That petitioner has read and is familiar with the provisions of Title 28 of the United States Code that pertain to jurisdiction of
and venue in a United States District Court, the Federal Rules of Civil and Criminal Procedure, the Federal Rules of Evidence, the
Local Rules of Practice for the United States District Court for the Western District of New York and the New York Rules of
Professional Conduct (22 NYCRR Part 1200).

WHEREFORE, the petitioner respectfully requests to be admitted as an attamey in the United States District Court for

the Western District of New York.

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| verify under penalty of perjury thal the foregoing is true and correct.

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Swom to before me this_4/_ day of Beco-ber _L0Z2e b

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KEISHA WILLIAMS
A jie NOTARY PUBLIC-STATE OF NEW YORK
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My Commission Expires January 26. 2842

Notary Public Mr fa Locahed iN She Cov Le
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(Revised 2020)
